                       IN   THE    UNITED    STATES    DISTRICT      COURT

                 FOR    THE   EASTERN       DISTRICT    OF   NORTH    CAROLINA

                                  SOUTHERN          DIVISION



 La~bmj __-fffLJQtie.2 ___ ,
"\)_" Q_h-..-....J~·l)l
 ~-Ll_~~!-~~----------------'

  (Enter above the full name
  of the Plaintiff[s] in this
  action).
                                                        case   No.   '}_:{S_-__~1/_::ff_~:_f>O
              vs.                                                    (To be assigned
                                                                      by the Clerk of
                                                                      District Court)




  (Enter above the full name of
  ALL Defendant[s] in this action.
  Fed.R.Civ.P.lO(a) requires that
  the caption of the complaint
  include the names of all the
  parties. Merely listing one
  party and •et al." is insufficient.
  Please attach additional sheets if
  necessary).

                                            COMPLAINT



  Plaintiff   resides       at:   _Q9J9 __S_U_IJ}o::Ecileld_La~-----
~<L1:~Vil~-~~--~8~1)Lo_____________________________ _




                                                1




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Jurisdiction   in   this   court   is   based   on:




                                          2




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(If you need more space, or wish to include any further
information for consideration, please attach additional         sheets.)




I   seek   the   following   relief:




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't-f- \l· \C.
 _L______  Q __ _
    Date




                                     4




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